Case 06-30097

Label Matrix for local noticing
0541-4

Case 06-30097

Southern District of Texas
Houston

Thu Apr 21 14:30:03 CDT 2011

FPC Financial, fsb
1700 West Highway 36, Suite 510
Roseville, MN 55113-4027

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United States Bankruptcy Court
PO Box 61010

Houston, TX 77208-1010

(p) CHRYSLER FINANCIAL
27777 INKSTER RD
FARMINGTON HILLS MI 48334-5326

Credit First NA
PO Box 818011
Cleveland, OH 44181-8011

DeTar Hospital
506 E San Antonio
Victoria, TX 77901-6060

FPC Financial, fsb
P.O. Box 131311
Roseville, MN 55113-0011

Gemb/dillards
Po Box 981400
El Paso, TX 79998-1400

(p) INTERNAL REVENUE SERVICE
CENTRALIZED INSOLVENCY OPERATIONS
PO BOX 7346

PHILADELPHIA PA 19101-7346

Medical Data Systems I (original Credito
2001 Sth Ave Ste 312
Vero Beach, FL 32960-6413

DaimlerChrysler Financial Services Americas
co Paul Kim

P.O. box 11509

Fort Worth, TX 76110-0509

Texas Dow Employees Credit Union (TDECU)
1001 FM 2004
Lake Jackson, TX 77566-4012

Boren Swindell & Assoc,
2900 Weslayan, Suite 595
Houston, TX 77027-5150

Citibank Usa
Po Box 9714
Gray, TN 37615-9714

Credit Systems International/ Collection
1277 Country Club
Fort Worth, TX 76112-2304

DeTar Hospital
506 E San Antonio St
Victoria, TX 77901-6060

FPC Financial fsb
Deere Credit Services
PO Box 131311
Roseville MN 55113-0011

Gemb/funancing
950 Forrer Blvd
Kettering, OH 45420-1469

John Swannack, DDS
105 Professional Drive
Victoria, TX 77904-2351

National Credit System (original Credito
3800 Camp Creek Pkwy B18
Atlanta, GA 30331-6247

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DaimlerChrysler Services North America L.L.C
c/o Stephen Wilcox

Bassel & Wilcox

P.O. Box 11509

Fort Worth, TX 76110-0509

Wells Fargo Bank, N.A.

c/o Barrett Burke Wilson Castle Daffin
1900 St. James Place, Suite 500
Houston, TX 77056-4125

Cal-com Cred
Po Box 1005
Port Lavaca, TX 77979-1005

Credit First NA
6275 Eastland Rd
Brook Park, OH 44142-1399

DaimlerChrysler Services North America L.L.C
PO BOX 860
ROANOKE, TEXAS 76262-0860

Deere Credit Services
6402 Excelsior Dr
Madison, WI 53717-1909

GE Consumer Finance
For GE Money Bank

dba FUNANCING

P.O. BOX 960061
Orlando, Fl 32896-0061

Hawkeye Adj (original Creditor:satkartar
2300 Pierce St
Sioux City, IA 51104-3851

Lowes/mbga
Po Box 103065
Roswell, GA 30076

National Credit Systems Inc.
PO Box 312125
Atlanta, GA 31131-2125
Case 06-30097

Neo Fin/31 (original Creditor:utmb Physi
Po Box 41667
Philadelphia, PA 19101

Tractor Supply/cbusa N
Po Box 9714
Gray, TN 37615-9714

Wells Fargo Bank, N.A.

c/o Legal Practice Management
15000 Surveyor Blvd.

Addison, TX 75001-4417

Andrea Valdez
1101 E Trinity St
Victoria, TX 77901-5440

William £. Heitkamp

Office of Chapter 13 Trustee
9821 Katy Freeway

Ste 590

Houston, TX 77024-1294

Texas Dow Employees Cu
1001 FM 2004

Lake Jackson, TX 77566-4012

US Trustee

Office of the US Trustee
515 Rusk Ave

Ste 3516

Houston, TX 77002-2604

Wells Fargo Card Services
P.O. Box 9210
Des Moines, IA 50306-9210

Raymond Valdez
1101 E Trinity St
Victoria, TX 77901-5440

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The Texas A&M University System
ATTN: Karen B, Royal

A&M System Building, Suite 2079
200 Technology Way

College Station, Texas 77845-3424

Wells Fargo
Po Box 5445
Portland, OR 97228-5445

Wells Fargo Home Mtg
405 Sw 5th St
Des Moines, IA 50309-4600

Sonya Lynn Kapp
Swindell Associates
2900 Weslayan

Ste 595

Houston, TX 77027-5150

The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(£) and Fed.R.Bank.P. 2002 (g) (4).

Chrysler Credit
5225 Crooks Rd Ste 140
Troy, HI 48098

IRS
P.O. Box 21126
Philadelphia, PA 19114

End of Label Matrix

Mailable recipients 42
Bypassed recipients 0
Total 42
